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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


RICHARD JONES,

              Plaintiff,

       v.                                        Civil Action No. 16-2405 (DLF)

DISTRICT OF COLUMBIA,

              Defendant.


             DEFENDANT’S AMENDED ANSWER AND DEFENSES
               TO PLAINTIFF’S FIRST AMENDED COMPLAINT

      Defendant the District of Columbia (the District) answers plaintiff’s First

Amended Complaint (Complaint) as follows:

                                    DEFENSES

      Defendant asserts and preserves the following defenses based on information

currently available. Defendant reserves the right to withdraw these defenses or

assert additional defenses as further information becomes available.

                                  FIRST DEFENSE

      The Complaint fails to state a claim upon which relief can be granted.

                                 SECOND DEFENSE

      Defendant, at all relevant times, acted consistently with applicable laws, rules,

regulations, and constitutional provisions.

                                  THIRD DEFENSE

      Defendant denies all allegations of wrongdoing including, but not limited to,
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any alleged violations of statutory and common law, and further denies that plaintiff

is entitled to any relief.

                                  FOURTH DEFENSE

       Plaintiff’s claims fail to meet the requirements for class certification under

Fed. R. Civ. P. 23.

                                   FIFTH DEFENSE

       The Complaint fails to allege sufficient facts to establish municipal liability

under 42 U.S.C. § 1983.

                                   SIXTH DEFENSE

       The District, its agents, servants, and employees, acting within the course and

scope of their employment, have performed their obligations, if any, toward the

plaintiff in accordance with all applicable regulatory, statutory, constitutional, and

common law requirements.

                                 SEVENTH DEFENSE

       The District, its agents, servants, and employees, acting within the course and

scope of their employment, have acted in good faith and with the reasonable belief

that their actions were lawful under the circumstances.

                                  EIGHTH DEFENSE

       If plaintiff was injured or damaged as alleged in the Complaint, such injuries

or damages resulted from the conduct of a person or entity other than the District, or

factors outside of the District’s control.




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                                 NINTH DEFENSE

      Some of plaintiff’s claims are barred by the Court’s August 22, 2018 Order [25],

August 31, 2018 Order [28], or June 13, 2019 Order [39].

                      AMENDED ANSWER TO PLAINTIFF’S
                        FIRST AMENDED COMPLAINT

      Defendant asserts that any allegation not specifically admitted in this

Amended Answer is denied and responds to the individually-numbered paragraphs

of the Complaint as follows:

                                    Introduction1

      1.     This paragraph contains factual characterizations and legal conclusions

and, accordingly, does not require a response. To the extent a response is required,

the allegations are denied.

      2.     This paragraph contains factual characterizations and legal conclusions

and, accordingly, does not require a response. To the extent a response is required,

the allegations are denied.

      3.     This paragraph contains factual characterizations and legal conclusions

and, accordingly, does not require a response. To the extent a response is required,

the allegations are denied.

      4.     This paragraph characterizes the nature of plaintiff’s action and

requires no response. To the extent a response is required, the allegations are denied.




1     Headings are provided to correspond to the Complaint to assist the Court in
reviewing the Amended Answer. However, defendant denies all statements in the
headings.
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       5.     This paragraph characterizes the nature of plaintiff’s action and

requires no response. To the extent a response is required, the allegations are denied.

       6.     This paragraph characterizes the nature of plaintiff’s action and

requires no response. To the extent a response is required, the allegations are denied.

       7.     This paragraph characterizes the nature of plaintiff’s action and

requires no response. To the extent a response is required, the allegations are denied.

                                 Jurisdiction and Venue

       8.     This paragraph contains factual characterizations and legal conclusions

and, accordingly, does not require a response. To the extent a response is required,

the allegations are denied.

       9.     This paragraph contains factual characterizations and legal conclusions

and, accordingly, does not require a response. To the extent a response is required,

the allegations are denied.

       10.    Defendant lacks sufficient information to admit or deny whether “[e]ach

of the claims for relief arose in this judicial district.” However, to the extent a response

is required, the District admits that venue in the District of Columbia is proper.

                                          Parties

       11.    Defendant denies the allegations in this paragraph.

       12.    Defendant admits that the District is a municipal corporation that may be

sued under applicable law.

                                   Factual Allegations

       13.    Defendant denies the allegations in this paragraph.



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      14.    Defendant denies the allegations in this paragraph.

      15.    Defendant denies the allegations in this paragraph.

      16.    This paragraph contains factual characterizations and legal conclusions

and, accordingly, does not require a response. To the extent a response is required,

the allegations are denied.

      17.    Defendant denies the allegations in this paragraph.

      18.    This paragraph contains factual characterizations and legal conclusions

and, accordingly, does not require a response. To the extent a response is required,

the allegations are denied.

      19.    This paragraph contains factual characterizations and legal conclusions

and, accordingly, does not require a response. To the extent a response is required,

the allegations are denied.

                  District of Columbia Department of Corrections

      20.    Defendant admits the allegations in this paragraph.

      21.    This paragraph contains factual characterizations and legal conclusions

and, accordingly, does not require a response. To the extent a response is required,

Defendant lacks sufficient information to admit or deny the allegations in this

paragraph.

                         The Inmate Management System

      22.    This paragraph contains factual characterizations and legal conclusions

and, accordingly, does not require a response. To the extent a response is required,

the allegations are denied.



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      23.     This paragraph contains factual characterizations and legal conclusions

and, accordingly, does not require a response. To the extent that a response is

required, the allegations are denied.

      24.     This paragraph contains legal conclusions and, accordingly, does not

require a response. To the extent that a response is required, the allegations are

denied.

      25.     This paragraph contains factual characterizations and legal conclusions

and, accordingly, does not require a response. To the extent that a response is

required, the allegations are denied.

                              The Overdetention Problem

      26.     This paragraph contains factual characterizations and legal conclusions

and, accordingly, does not require a response. To the extent a response is required,

the allegations are denied.

      27.     This paragraph contains factual characterizations and legal conclusions

and, accordingly, does not require a response. To the extent a response is required,

the allegations are denied.

      28.     This paragraph contains factual characterizations and legal conclusions

and, accordingly, does not require a response. To the extent a response is required,

the allegations are denied.

      29.     This paragraph contains factual characterizations and legal conclusions

and, accordingly, does not require a response. To the extent a response is required,

the allegations are denied.



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      30.    Defendant denies the allegations in this paragraph.

      31.    This paragraph contains factual characterizations and legal conclusions

and, accordingly, does not require a response. To the extent a response is required,

the allegations are denied.

      32.    Defendant denies the allegations in this paragraph.

                      The Court Return Strip Search Problem

      33.    This paragraph contains factual characterizations and legal conclusions

and, accordingly, does not require a response. To the extent a response is required,

the allegations are denied.

      34.    This paragraph contains factual characterizations and legal conclusions

and, accordingly, does not require a response. To the extent a response is required,

the allegations are denied.

      35.    This paragraph contains factual characterizations and legal conclusions

and, accordingly, does not require a response. To the extent a response is required,

the allegations are denied.

      36.    Defendant denies the allegations in this paragraph.

      37.    Defendant denies the allegations in this paragraph.

      38.    This paragraph contains factual characterizations and legal conclusions

and, accordingly, does not require a response. To the extent that a response is

required, the allegations are denied.




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                   Split system connected by a “sneaker network”

      39.    This paragraph contains factual characterizations and legal conclusions

and, accordingly, does not require a response. To the extent a response is required,

the allegations are denied.

      40.    This paragraph contains factual characterizations and legal conclusions

and, accordingly, does not require a response. To the extent a response is required,

the allegations are denied.

      41.    This paragraph contains factual characterizations and legal conclusions

and, accordingly, does not require a response. To the extent a response is required,

the allegations are denied.

      42.    This paragraph contains factual characterizations and legal conclusions

and, accordingly, does not require a response. To the extent a response is required,

the allegations are denied.

      43.    This paragraph contains factual characterizations and legal conclusions

and, accordingly, does not require a response. To the extent a response is required,

the allegations are denied.

      44.    This paragraph contains factual characterizations and legal conclusions

and, accordingly, does not require a response. To the extent a response is required,

the allegations are denied.

      45.    This paragraph contains factual characterizations and legal conclusions

and, accordingly, does not require a response. To the extent a response is required,

the allegations are denied.



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      46.    This paragraph contains factual characterizations and legal conclusions

and, accordingly, does not require a response. To the extent a response is required,

the allegations are denied.

      47.    This paragraph contains factual characterizations and legal conclusions

and, accordingly, does not require a response. To the extent a response is required,

the allegations are denied.

      48.    This paragraph contains factual characterizations and legal conclusions

and, accordingly, does not require a response. To the extent a response is required,

the allegations are denied.

      49.    This paragraph contains factual characterizations and legal conclusions

and, accordingly, does not require a response. To the extent a response is required,

the allegations are denied.

      50.    This paragraph contains factual characterizations and legal conclusions

and, accordingly, does not require a response. To the extent a response is required,

the allegations are denied.

      51.    This paragraph contains factual characterizations and legal conclusions

and, accordingly, does not require a response. To the extent a response is required,

the allegations are denied.

      52.    Defendant lacks sufficient information to admit or deny the allegations

in this paragraph.




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      53.    This paragraph contains factual characterizations and legal conclusions

and, accordingly, does not require a response. To the extent a response is required,

the allegations are denied.

      54.    Defendant lacks sufficient information to admit or deny the allegations

in this paragraph.

                     DOC runs a paper system for tracking cases

      55.    This paragraph contains factual characterizations and legal conclusions

and, accordingly, does not require a response. To the extent a response is required,

the allegations are denied.

      56.    Defendant denies the allegations in this paragraph.

      57.    Defendant denies the allegations in this paragraph.

      58.    This paragraph contains factual characterizations and legal conclusions

and, accordingly, does not require a response. To the extent a response is required,

the allegations are denied.

      59.    Defendant denies the allegations in this paragraph.

                  The District’s system for handling Court returns

      60.    Defendant lacks sufficient information to admit or deny the allegations

in this paragraph.

      61.    This paragraph contains factual characterizations and legal conclusions

and, accordingly, does not require a response. To the extent a response is required,

defendant lacks sufficient information to admit or deny the allegations in this

paragraph.



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      62.    This paragraph states a legal conclusion, which requires no response.

To the extent a response is required, defendant lacks sufficient information to admit

or deny the allegations in this paragraph.

      63.    This paragraph states a legal conclusion, which requires no response.

To the extent a response is required, defendant lacks sufficient information to admit

or deny the allegations in this paragraph.

      64.    This paragraph contains factual characterizations and legal conclusions

and, accordingly, does not require a response. To the extent a response is required,

defendant lacks sufficient information to admit or deny the allegations in this

paragraph.

      65.    This paragraph contains factual characterizations and legal conclusions

and, accordingly, does not require a response. To the extent a response is required,

defendant lacks sufficient information to admit or deny the allegations in this

paragraph.

      66.    This paragraph contains factual characterizations and legal conclusions

and, accordingly, does not require a response. To the extent a response is required,

defendant lacks sufficient information to admit or deny the allegations in this

paragraph.

      67.    This paragraph contains factual characterizations and legal conclusions

and, accordingly, does not require a response. To the extent a response is required,

the allegations are denied.




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      68.    This paragraph contains factual characterizations and legal conclusions

and, accordingly, does not require a response. To the extent a response is required,

the allegations are denied.

      69.    This paragraph contains factual characterizations and legal conclusions

and, accordingly, does not require a response. To the extent a response is required,

the allegations are denied.

      70.    This paragraph contains factual characterizations and legal conclusions

and, accordingly, does not require a response. To the extent a response is required,

the allegations are denied.

      71.    This paragraph contains factual characterizations and legal conclusions

and, accordingly, does not require a response. To the extent a response is required,

the allegations are denied.

      72.    This paragraph contains factual characterizations and legal conclusions

and, accordingly, does not require a response. To the extent a response is required,

the allegations are denied.

      73.    This paragraph contains factual characterizations and legal conclusions

and, accordingly, does not require a response. To the extent a response is required,

the allegations are denied.

      74.    This paragraph contains factual characterizations and legal conclusions

and, accordingly, does not require a response. To the extent a response is required,

the allegations are denied.




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      75.    This paragraph contains factual characterizations and legal conclusions

and, accordingly, does not require a response. To the extent a response is required,

the allegations are denied.

      76.    This paragraph contains factual characterizations and legal conclusions

and, accordingly, does not require a response. To the extent a response is required,

the allegations are denied.

      77.    This paragraph contains factual characterizations and legal conclusions

and, accordingly, does not require a response. To the extent a response is required,

the allegations are denied.

      78.    This paragraph contains factual characterizations and legal conclusions

and, accordingly, does not require a response. To the extent a response is required,

the allegations are denied.

      79.    This paragraph contains factual characterizations and legal conclusions

and, accordingly, does not require a response. To the extent a response is required,

the allegations are denied.

      80.    This paragraph contains factual characterizations and legal conclusions

and, accordingly, does not require a response. To the extent a response is required,

the allegations are denied.

      81.    Defendant denies the allegations in this paragraph.




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             Snith v. District of Columbia [sic] and the District’s system
                               for handling court returns

      82.    This paragraph contains factual characterizations and legal conclusions

and, accordingly, does not require a response. To the extent a response is required,

the allegations are denied.

      83.    This paragraph contains factual characterizations and legal conclusions

and, accordingly, does not require a response. To the extent a response is required,

defendant lacks sufficient information to admit or deny the allegations in this

paragraph.

      84.    This paragraph contains factual characterizations and, accordingly,

does not require a response. To the extent the characterization is different than the

finding in Smith v. District of Columbia, 306 F. Supp. 3d 223 (D.D.C. 2018), defendant

denies the allegation.

      85.    Defendant lacks sufficient information to admit or deny the allegations

in this paragraph.

      86.    This paragraph contains factual characterizations and, accordingly,

does not require a response. To the extent the characterization is different than the

finding in Smith v. District of Columbia, 306 F. Supp. 3d 223 (D.D.C. 2018), defendant

denies the allegation.

      87.    Defendant lacks sufficient information to admit or deny the allegations

in this paragraph.

      88.    Defendant lacks sufficient information to admit or deny the allegations

in this paragraph.

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      89.    Defendant lacks sufficient information to admit or deny the allegations

in this paragraph.

      90.    Defendant lacks sufficient information to admit or deny the allegations

in this paragraph.

      91.    Defendant lacks sufficient information to admit or deny the allegations

in this paragraph.

      92.    Defendant lacks sufficient information to admit or deny the allegations

in this paragraph.

      93.    Defendant lacks sufficient information to admit or deny the allegations

in this paragraph.

      94.    This paragraph contains factual characterizations and legal conclusions

and, accordingly, does not require a response. To the extent the characterizations and

conclusions are different than the finding in Smith v. District of Columbia, 306 F.

Supp. 3d 223 (D.D.C. 2018), defendant denies the allegation.

      95.    Defendant denies the allegations in this paragraph.

      96.    Defendant denies the allegations in this paragraph.

      97.    Defendant denies the allegations in this paragraph.

      98.    Defendant denies the allegations in this paragraph.

      99.    Defendant denies the allegations in this paragraph.

      100.   Defendant denies the allegations in this paragraph.

      101.   Defendant denies the allegations in this paragraph.

      102.   Defendant denies the allegations in this paragraph.



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      103.   Defendant denies the allegations in this paragraph.

      104.   Defendant denies the allegations in this paragraph.

                     Deliberate indifference to over-detentions

      105.   This paragraph contains factual characterizations and legal conclusions

and, accordingly, does not require a response. To the extent a response is required,

the allegations are denied.

      106.   Defendant admits that the D.C. Jail is located at 1901 E Street, S.E.,

Washington, D.C. 20003 and that the Superior Court is located at 555 Indiana

Avenue, N.W., Washington, D.C. 20001. The remaining allegations are denied.

      107.   Defendant lacks sufficient information to admit or deny the allegations

in this paragraph.

      108.   Defendant lacks sufficient information to admit or deny the allegations

in this paragraph.

      109.   Defendant lacks sufficient information to admit or deny the allegations

in this paragraph.

      110.   This paragraph contains factual characterizations and legal conclusions

and, accordingly, does not require a response. To the extent a response is required,

the allegations are denied.

      111.   This paragraph contains factual characterizations and legal conclusions

and, accordingly, does not require a response. To the extent a response is required,

defendant lacks sufficient information to admit or deny the allegations in this

paragraph.



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      112.   This paragraph contains factual characterizations and legal conclusions

and, accordingly, does not require a response. To the extent that a response is

required, defendant lacks sufficient information to admit or deny the allegations in

this paragraph.

      113.   Defendant lacks sufficient information to admit or deny the allegations

in this paragraph.

      114.   Defendant lacks sufficient information to admit or deny the allegations

in this paragraph.

      115.   Defendant lacks sufficient information to admit or deny the allegations

in this paragraph.

                       Over-detention numbers for the DOC

      116.   Defendant lacks sufficient information to admit or deny the allegations

in this paragraph.

      117.   Defendant denies the allegations in this paragraph.

      118.   Defendant denies the allegations in this paragraph.

      119.   Defendant denies the allegations in this paragraph.

      120.   Defendant denies the allegations in this paragraph.

      121.   Defendant lacks sufficient information to admit or deny the allegations

in this paragraph.

      122.   Defendant denies the allegations in this paragraph.

      123.   Defendant denies the allegations in this paragraph.

      124.   Defendant denies the allegations in this paragraph.



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      125.     Defendant lacks sufficient information to admit or deny the allegations

in this paragraph.

      126.     Defendant denies the allegations in this paragraph.

               Plaintiff Richard Jones’ [sic] Overdetention by the DC Jail

      127.     Defendant lacks sufficient information to admit or deny the allegations

in this paragraph.

      128.     Defendant lacks sufficient information to admit or deny the allegations

in this paragraph.

      129.     Defendant lacks sufficient information to admit or deny the allegations

in this paragraph.

      130.     Defendant lacks sufficient information to admit or deny the allegations

in this paragraph.

      131.     Defendant denies the allegations in this paragraph.

      132.     This paragraph contains factual characterizations and, accordingly,

does not require a response. To the extent a response is required, the allegations are

denied.

      133.     This paragraph characterizes the nature of plaintiff’s action and

requires no response. To the extent a response is required, the allegations are denied.

      134.     Defendant denies the allegations in this paragraph.

                         Plaintiff Richard Jones’s Strip Search

      135.     Defendant lacks sufficient information to admit or deny the allegations

in this paragraph.



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      136.   Defendant lacks sufficient information to admit or deny the allegations

in this paragraph.

      137.   Defendant lacks sufficient information to admit or deny the allegations

in this paragraph.

      138.   Defendant lacks sufficient information to admit or deny the allegations

in this paragraph.

      139.   Defendant lacks sufficient information to admit or deny the allegations

in this paragraph.

      140.   Defendant lacks sufficient information to admit or deny the allegations

in this paragraph.

      141.   Defendant lacks sufficient information to admit or deny the allegations

in this paragraph.

      142.   Defendant lacks sufficient information to admit or deny the allegations

in this paragraph.

      143.   Defendant lacks sufficient information to admit or deny the allegations

in this paragraph.

      144.   This paragraph contains factual characterizations and legal conclusions

and, accordingly, does not require a response. To the extent a response is required,

defendant lacks sufficient information to admit or deny the allegations in this

paragraph.

      145.   Defendant lacks sufficient information to admit or deny the allegations

in this paragraph.



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      146.   This paragraph contains factual characterizations and legal conclusions

and, accordingly, does not require a response. To the extent a response is required,

defendant lacks sufficient information to admit or deny the allegations in this

paragraph.

                              Substantive Allegations

                                      Claim 1

  Pattern and Practice § 1983 Liability of District of Columbia for Overdetentions

      147.   This paragraph adopts by reference the contents of other paragraphs

and requires no specific response from defendant. Defendant restates the responses

to the preceding paragraphs as if fully incorporated here.

      148.   Defendant denies the allegations in this paragraph.

      149.   This paragraph contains factual characterizations and legal conclusions

and, accordingly, does not require a response. To the extent a response is required,

the allegations are denied.

      150.   Defendant denies the allegations in this paragraph.

      151.   Defendant denies the allegations in this paragraph.

      152.   Defendant denies the allegations in this paragraph.

      153.   Defendant denies the allegations in this paragraph.




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                                       Claim 2

    Liberty Interest § 1983 Liability of District of Columbia for Overdetentions

      154.   This paragraph adopts by reference the contents of other paragraphs

and requires no specific response from defendant. Defendant restates the responses

to the preceding paragraphs as if fully incorporated here.

      155.   This paragraph characterizes the nature of plaintiff’s action, and

contains factual characterizations and legal conclusions and, accordingly, requires no

response. To the extent a response is required, the allegations are denied.

      156.   Defendant denies the allegations in this paragraph.

      157.   Defendant denies the allegations in this paragraph.

      158.   Defendant denies the allegations in this paragraph.

                                       Claim 3

             § 1983 Monell Liability of District for Illegal Strip Searches

      159.   This paragraph adopts by reference the contents of other paragraphs

and requires no specific response from defendant. Defendant restates the responses

to the preceding paragraphs as if fully incorporated here.

      160.   Defendant denies the allegations in this paragraph.

      161.   Defendant denies the allegations in this paragraph.

      162.   Defendant denies the allegations in this paragraph.

      163.   Defendant denies the allegations in this paragraph.

      164.   Defendant denies the allegations in this paragraph.




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                                        Claim 4

             Common Law Liability of District of Columbia for False Arrest

      165.     This paragraph adopts by reference the contents of other paragraphs

and requires no specific response from defendant. Defendant restates the responses

to the preceding paragraphs as if fully incorporated here.

      166.     Defendant denies the allegations in this paragraph.

      167.     Defendant lacks sufficient information to admit or deny the allegations

in this paragraph.

      168.     Defendant denies the allegations in this paragraph.

      169.     Defendant denies the allegations in this paragraph.

      170.     Defendant denies the allegations in this paragraph.

                                        Claim 5

                   Common Law of District for Illegal Strip Searches

      171.     This paragraph adopts by reference the contents of other paragraphs

and requires no specific response from defendant. Defendant restates the responses

to the preceding paragraphs as if fully incorporated here.

      172.     This paragraph contains factual characterizations and legal conclusions

and, accordingly, does not require a response. To the extent a response is required,

the allegations are denied.

      173.     Defendant denies the allegations in this paragraph.

      174.     Defendant lacks sufficient information to admit or deny the allegations

in this paragraph.



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      175.    Defendant denies the allegations in this paragraph.

      176.    Defendant denies the allegations in this paragraph.

      177.    Defendant denies the allegations in this paragraph.

                               Class Action Allegations

      178.    This paragraph characterizes the nature of plaintiff’s action and states

legal conclusions to which no response is required. This paragraph also is in support

of a class claim and the Court has denied plaintiff’s request to extend the deadline for

filing a motion for class action treatment nunc pro tunc. August 31, 2018 Order [28].

To the extent a response is required, the allegations are denied.

      179.    This paragraph characterizes the nature of plaintiff’s action and states

legal conclusions to which no response is required. This paragraph also is in support

of a class claim and the Court has denied plaintiff’s request to extend the deadline for

filing a motion for class action treatment nunc pro tunc. August 31, 2018 Order [28].

To the extent a response is required, the allegations are denied.

      180.    This paragraph states a legal conclusion, which requires no response.

To the extent a response is required, the allegations are denied. See August 31, 2018

Order [28].

      181.    This paragraph states a legal conclusion, which requires no response.

To the extent a response is required, the allegations are denied. See August 31, 2018

Order [28].




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      182.    This paragraph states a legal conclusion, which requires no response.

To the extent a response is required, the allegations are denied. See August 31, 2018

Order [28].

      183.    This paragraph contains factual characterizations and legal conclusions

and, accordingly, does not require a response. To the extent a response is required,

the allegations are denied. See August 31, 2018 Order [28].

      184.    This paragraph states a legal conclusion, which requires no response.

To the extent a response is required, the allegations are denied. See August 31, 2018

Order [28].

      185.    This paragraph states a legal conclusion, which requires no response.

To the extent a response is required, the allegations are denied. See August 31, 2018

Order [28].

      186.    This paragraph states a legal conclusion, which requires no response.

To the extent a response is required, the allegations are denied. See August 31, 2018

Order [28].

      187.    This paragraph states a legal conclusion, which requires no response.

To the extent a response is required, the allegations are denied. See August 31, 2018

Order [28].

      188.    This paragraph states a legal conclusion, which requires no response.

See August 31, 2018 Order [28]. To the extent a response is required, the allegations

are denied.




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      189.     This paragraph states a legal conclusion, which requires no response.

To the extent a response is required, the allegations are denied. See August 31, 2018

Order [28].

      190.     This paragraph states a legal conclusion, which requires no response.

To the extent a response is required, the allegations are denied. See August 31, 2018

Order [28].

                                  Prayer For Relief

      Defendant denies that plaintiff is entitled to the relief sought in the Complaint.

Defendant requests judgment dismissing the Complaint with prejudice and awarding

the District the costs of this action, and such additional relief as the Court may deem

appropriate.

                                   JURY DEMAND

      Defendant demands a jury trial on all claims triable by jury in this case.

Dated: July 17, 2019.                   Respectfully submitted,

                                        KARL A. RACINE
                                        Attorney General for the District of
                                        Columbia

                                        TONI MICHELLE JACKSON
                                        Deputy Attorney General
                                        Public Interest Division

                                        /s/ Fernando Amarillas
                                        FERNANDO AMARILLAS (974858)
                                        Chief, Equity Section

                                        /s/ Michael A. Tilghman II
                                        MICHAEL A. TILGHMAN II (988441)




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                                      SCOTT P. KENNEDY
                                      Assistant Attorneys General
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        Admitted to practice only in the State of Washington. Practicing in the
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of the D.C. Bar. See LCvR 83.2(f).

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